                Case 1:11-cr-00197-LJO Document 23 Filed 07/21/11 Page 1 of 3
                         UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                   Case No.     1:11-CR-197 LJO
                                              )
      VS.                                     )                   DETENTION ORDER
                                              )
OMAR QUINTERO-RODRIGUEZ,                      )
                                      )
                   Defendant.         )
_____________________________________ )

A.    Order For Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the Court
      orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

B.    Statement Of Reasons For The Detention
      The Court orders the defendant's detention because it finds:
        X   By a preponderance of the evidence that no condition or combination of conditions will reasonably
            assure the appearance of the defendant as required.
            By clear and convincing evidence that no condition or combination of conditions will reasonably
            assure the safety of any other person and the community. On review the Court finds that
            notwithstanding the charge in Count 3, there is not clear and convincing evidence that Defendant
            presents a threat to the safety of another or the community.

C.    Findings Of Fact
      The Court's findings are based on the evidence which was presented in Court, and that which was contained
      in the Pretrial Services Report, and includes the following:

       X      (1) Nature and circumstances of the offense charged:

                      21 USC 846, 841(a)(1) and 841(b)(1)(A) - Conspiracy to Distribute Methamphetamine
                            (Count 1), and Possession with Intent to Distribute Methamphetamine (Count 2);
                      18 USC 924(c)(1)(A)(I) - Possession of a Firearm in Furtherance of a Drug Trafficking
                            Offense (Count 3)
      18 USC 853(a) - Criminal Forfeiture

                X     (a) The offense:
                      is a serious crime and carries a maximum penalty of: life imprisonment and
                      $10,000,000.00 fine for each offense as to the methamphetamine charges; 5 years and a
                      $250,000 fine as to the firearm charge

                      (b) The offense is a crime of violence.
                      (c) The offense involves a narcotic drug.
                      (d) The offense involves a large amount of controlled substances, to wit:


              (2) The weight of the evidence against the defendant is high.
      __X__ (3) The history and characteristics of the defendant, including:
           Case 1:11-cr-00197-LJO Document 23 Filed 07/21/11 Page 2 of 3
DETENTION ORDER - Page 2                                       Case No. 1:11-CR-197 LJO



           (a) General Factors:
                            The defendant appears to have a mental condition which may affect whether the
                            defendant will appear.
                            The defendant has no family ties in the area.
                            The defendant has no steady employment.
                        X   The defendant has no substantial financial resources.
                            The defendant is not a long time resident of the community.
                            The defendant does not have any significant community ties.
                            Past conduct of the defendant:
                            The defendant has a history relating to drug abuse.
                            The defendant has a history relating to alcohol abuse.
                            The defendant has a significant prior criminal record.
                            The defendant has a prior record of failure to appear at court proceedings.


                   (b) Whether the defendant was on probation, parole, or release by a court:
                   At the time of the current arrest, the defendant was on:
                            Probation
                            Parole
                            Release pending trial, sentence, appeal, or completion of sentence.


                   (c) Other Factors:
                            The defendant is an illegal alien and is subject to deportation.
                        X   The defendant is a legal alien and will be subject to deportation if convicted.
                            Other:


           (4) The nature and seriousness of the danger posed by the defendant's release are as follows:


       X   (5) Rebuttable Presumptions
           In determining that the defendant should be detained, the Court also relied on the following rebuttable
           presumption(s) contained in 18 U.S.C. §3142(e) which the Court finds the defendant has not rebutted:
            X      a.       That no condition or combination of conditions will reasonably assure the appearance of
                            the defendant as required and the safety of any other person and the community because
                            the Court finds that the crime involves:
                                     (A) A crime of violence;
                               X     (B) An offense for which the maximum penalty is life imprisonment or death;
           Case 1:11-cr-00197-LJO
DETENTION ORDER  - Page 3         Document 23 Filed 07/21/11 Page 3 of
                                                               Case No.3 1:11-CR-197 LJO



                                     X    (C) A controlled substance violation which has a maximum penalty of 10
                                          years or more; or,
                                          (D) A felony after the defendant had been convicted of 2 or more prior
                                          offenses described in (A) through (C) above, and the defendant has a prior
                                          conviction for one of the crimes mentioned in (A) through (C) above which is
                                          less than 5 years old and which was committed while the defendant was on
                                          pretrial release.


                    X    b.      That no condition or combination of conditions will reasonably assure the appearance of
                                 the defendant as required because the Court finds that there is probable cause to believe:
                                     X    (A) That the defendant has committed a controlled substance violation which
                                          has a maximum penalty of 10 years or more.
                                    X     (B) That the defendant has committed an offense under 18 U.S.C. §924(c)
                                          (uses or carries a firearm during and in relation to any crime of violence,
                                          including a crime of violence, which provides for an enhanced punishment if
                                          committed by the use of a deadly or dangerous weapon or device).


D.       Additional Directives
         Pursuant to 18 U.S.C. §3142(i)(2)-(4), the Court directs that:
         The defendant be committed to the custody of the Attorney General for confinement in a corrections facility
         separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
         appeal; the defendant be afforded reasonable opportunity for private consultation with counsel; and, that on order
         of a court of the United States, or on request of an attorney for the Government, the person in charge of the
         corrections facility in which the defendant is confined deliver the defendant to a United States Marshal for the
         purpose of an appearance in connection with a court proceeding.


        This Order is without prejudice to the Defendant’s right to renew his request to pretrial release on conditions
acceptable to the Court if and as circumstances change to satisfy the Court that the Defendant is not a flight risk. Such
circumstances may, in the Court’s discretion, include providing proof that a secured bond in an amount satisfactory to the
Court will be obtained prior to release and proof that the Defendant’s employment remains available to him upon release.


IT IS SO ORDERED.


Dated:           7/21/2011                        /s/ Michael J. Seng
                                                  MICHAEL J. SENG
                                                  United States Magistrate Judge
